Action begun July 13, 1939, by Dr. G. A. Legault against the city of Owen for medical services and hospital charges. From a judgment for the plaintiff, defendant appeals.
Mrs. Bobette Meyer, described as a pauper resident of the city of Owen, was taken to the respondent's private hospital, and there given surgical and medical care.  She was in the hospital for fifty-nine days.
Clark county, in which the city of Owen is situated, adopted the county system of relief for the poor as prescribed in sec. 49.15, Stats.  Notice of medical care, as required by sec. 49.18 (2), was given by the plaintiff to both the county and the city.  Clark county disclaimed liability because of failure to show a need for relief.  At the request of Dr. Legault the mayor of Owen signed the following statement:
DR. G. A. LEGAULT,
    Owen, Wisconsin.

You are hereby authorized to hospitalize and give medical and surgical treatment to Mrs. Bobette Meyer, who is a pauper from the city of Owen, Clark county, Wisconsin. Any and all expenses incurred in the care of the above-mentioned pauper will be paid by the city of Owen. Dated at Owen, Wisconsin, this 27th day of January, 1939.                       (Signed) H. C. MADSEN, Mayor.

Defendant answered that it is not legally responsible for the emergency care of Mrs. Meyer because it was in a county under the county system of relief; that all relief cases fall to the county under that system; that administrative officers by custom have interpreted such emergency costs to be those of the county; and that the authorization signed by its mayor created no liability on the part of the city.
In support of his claim plaintiff urges that sec. 49.18, Stats., authorizes a mayor or county board chairman to provide for temporary medical relief for a poor person and to *Page 677 
incur liability in any emergency case just as though the city council or the county board had acted; and that the record fails to show whether the resolution, purporting to initiate a county relief system, properly distinguished between local and county poor or whether a majority of all supervisors, as required by sec. 49.15, voted for the resolution, so as to indicate the resolution was passed and the county system properly adopted.
A county adopting the county system of relief "assumes complete responsibility" for relief and support of the poor.  Washburn v. Bayfield County, ante, p. 215, 292 N.W. 912.  It is considered that case rules this.
The objection that the adoption of the county system of poor relief was not legal was properly disposed of by the trial court.  We agree with the conclusion in its memorandum decision "that the county of Clark, within which the said city of Owen is located, at the time the hospitalization and the surgical and medical treatment was furnished was on the county system of pauper relief."  The county board of that county on May 25, 1938, according to the records of its county clerk, decided that on June 1, 1938, that county would "go entirely on the county system of relief."  The resolution was adopted by a clear majority of the members of the board and placed the county under the county system of poor relief.
The application of sec. 49.18, Stats., relied upon by the respondent, is determined by the system of poor relief in existence.  The mayor of the city of Owen could not, by his act, place an obligation on that city which under the *Page 678 
law could be the obligation only of Clark county.  The chairman of the county board after investigation refused to recognize the claim as a proper one.  The conclusion that any claim which might exist would be against Clark county takes out of the case any basis for liability on the part of the city.  Sec. 49.18 merely authorizes the proper executive officer to act for the governmental unit he represents when that unit has a liability to discharge.
By the Court. — Judgment reversed, and cause remanded with directions to dismiss the complaint.
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